        Case 4:16-cr-00003-KGB           Document 30        Filed 02/25/16      Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                          *
                                                  *
                       Plaintiff,                 *
vs.                                               *
                                                  *           No. 4:16-CR-00003-02 BRW
CURTIS HACKER,                                    *
                                                  *
                       Defendant.                 *

                                              ORDER

       Defendant, Curtis Hacker, filed a Motion for Reconsideration (Doc. No. 26) of my earlier

Order of Detention (Doc. No. 22). The United States opposes the Motion (Doc. No. 28).

       On January 19, 2016, I found by clear and convincing evidence that Mr. Hacker was a danger

to the community and no condition or combination of conditions could be imposed to assure the

safety of the community. Id. I specifically found Mr. Hacker lied to me about his employment,

failed a urinalysis, and failed to successfully complete a court-ordered inpatient drug rehabilitation

program.

       Mr. Hacker sets outs the following grounds in support of his Motion:

       1)      Defendant is gainfully employed with full-time and permanent employment;

       2)      Defendant believes his failed urinalysis resulted from residue of a controlled

substance not completely removed from his system;

       3)      Defendant will submit to inpatient drug rehabilitation treatment.

       Title 18 U.S.C. § 3142(f) allows reconsideration of a detention order only if “the judicial

officer finds that information exists that was not known to the movant at the time of the hearing and

that has a material bearing on the issue” of release. Id. (emphasis added). While defense counsel

is credited for zealously advocating for his client, the submitted grounds for relief fail to bear

                                                  1
       Case 4:16-cr-00003-KGB        Document 30       Filed 02/25/16     Page 2 of 2




materially on my reasons for detention. So pursuant to the Bail Reform Act, Defendant’s Motion

For Reconsideration is DENIED.

       IT IS SO ORDERED this 25th day of February, 2016.


                                                  ___________________________________
                                                  JOE J. VOLPE
                                                  UNITED STATES MAGISTRATE JUDGE




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